
710 S.E.2d 28 (2011)
STATE of North Carolina
v.
Keith Leonardo SHROPSHIRE.
No. 152P11.
Supreme Court of North Carolina.
June 15, 2011.
M. Elizabeth Guzman, Assistant Attorney General, for State of North Carolina.
Keith Leonardo Shropshire, for Shropshire, Keith Leonardo.
Peter S. Gilchrist, III, District Attorney, for State of North Carolina.

ORDER
Upon consideration of the petition filed on the 18th of April 2011 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed by order of the Court in conference, this the 15th of June 2011."
